            Case 1:21-cv-00181-RLY-MJD Document 19 Filed 01/22/21 Page 1 of 3 PageID #: 289
                                                                                     CLOSED,STANDARD
                                United States District Court
                       Eastern District of Pennsylvania (Philadelphia)
                      CIVIL DOCKET FOR CASE #: 2:20−cv−04368−JD

LEWIS v. NATIONAL BOARD OF OSTEOPATHIC MEDICAL              Date Filed: 09/04/2020
EXAMINERS, INC.                                             Date Terminated: 12/10/2020
Assigned to: HONORABLE JAN E. DUBOIS                        Jury Demand: None
Cause: 28:1331 Federal Question: Other Civil Rights         Nature of Suit: 446 Civil Rights: Americans with
                                                            Disabilities − Other
                                                            Jurisdiction: Federal Question
Plaintiff
SHARMAINE LEWIS                               represented by MARY C. VARGAS
                                                             STEIN & VARGAS LLP
                                                             10 G STREET NE SUITE 600
                                                             WASHINGTON, DC 20002
                                                             240−793−3185
                                                             Email: Mary.Vargas@steinvargas.com
                                                             ATTORNEY TO BE NOTICED

                                                            CHARLES WEINER
                                                            LAW OFFICE OF CHARLES WEINER
                                                            CAMBRIA CORPORATE CENTER
                                                            501 CAMBRIA AVE
                                                            BENSALEM, PA 19020
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                                                            Email: charles@charlesweinerlaw.com
                                                            ATTORNEY TO BE NOTICED


V.
Defendant
NATIONAL BOARD OF OSTEOPATHIC                 represented by LEE C. DURIVAGE
MEDICAL EXAMINERS, INC.                                      MARSHALL DENNEHEY WARNER
                                                             COLEMAN & GOGGIN
                                                             2000 MARKET STREET
                                                             SUITE 2300
                                                             PHILADELPHIA, PA 19103
                                                             215−575−2584
                                                             Email: lcdurivage@mdwcg.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            SYDNEY L. STEELE
                                                            KROGER GARDIS & REGAS LLP]
                                                            111 MONUMENT CIRCLE #900
                                                            INDIANAPOLIS, IN 46204−5125
                                                            317−692−9000
                                                            Email: ssteele@kgrlaw.com
                                                            ATTORNEY TO BE NOTICED
             Case 1:21-cv-00181-RLY-MJD Document 19 Filed 01/22/21 Page 2 of 3 PageID #: 290

Date Filed        #    Docket Text

09/04/2020       Ï1    COMPLAINT against NATIONAL BOARD OF OSTEOPATHIC MEDICAL EXAMINERS, INC.
                       ( Filing fee $ 400 receipt number 0313−14545592.), filed by SHARMAINE LEWIS. (Attachments:
                       # 1 Civil Cover Sheet, # 2 Designation Form, # 3 Case Management Track Form)(WEINER,
                       CHARLES) (Entered: 09/04/2020)

09/09/2020        Ï    Summons Issued as to NATIONAL BOARD OF OSTEOPATHIC MEDICAL EXAMINERS,
                       INC.. E−MAILED To: COUNSEL on 9/9/2020 (bw, ) (Entered: 09/09/2020)

09/09/2020       Ï2    ORDER THAT THE UNITED STATES MAGISTRATE JUDGE ASSIGNED TTO THE
                       ABOVE−CAPTIONED CASE IS THE HONORABLE RICHARD A. LLORET. SIGNED BY
                       CLERK OF COURT KATE BARKMAN, CLERK OF COURT ON 9/9/20. 9/10/20 ENTERED
                       AND COPIES E−MAILED.(amas, ) (Entered: 09/10/2020)

09/11/2020       Ï3    NOTICE of Appearance by MARY C. VARGAS on behalf of SHARMAINE LEWIS (VARGAS,
                       MARY) (Entered: 09/11/2020)

09/15/2020       Ï4    AFFIDAVIT of Service by Richard Scollon, Jr. re: served Summons and Complaint upon R.A.
                       Maxwell, Operations Coordinator by personal service on 9−10−2020 (WEINER, CHARLES)
                       (Entered: 09/15/2020)

09/22/2020       Ï5    STIPULATION for Extension of Time by NATIONAL BOARD OF OSTEOPATHIC MEDICAL
                       EXAMINERS, INC.. (DURIVAGE, LEE) Modified on 10/26/2020 (lvj, ). (FILED IN ERROR BY
                       ATTORNEY; FORWARD TO JUDGE FOR APPROVAL) (Entered: 09/22/2020)

09/23/2020       Ï6    STIPULATION AND ORDER THAT DEFENDANT NATIONAL BOARD OF OSTEOPATHIC
                       MEDICAL EXAMINERS, INC. IS GRANTED AN EXTENSION OF TIME, UNTIL 10/20/2020,
                       TO RESPOND TO THE COMPLAINT. SIGNED BY HONORABLE JAN E. DUBOIS ON
                       9/23/20. 9/23/20 ENTERED AND COPIES E−MAILED.(amas, ) (Entered: 09/23/2020)

09/23/2020       Ï7    MOTION for Pro Hac Vice of Sydney L. Steele ( Filing fee $ 40 receipt number 0313−14586746.)
                       filed by NATIONAL BOARD OF OSTEOPATHIC MEDICAL EXAMINERS, INC..Certificate of
                       Service.(DURIVAGE, LEE) (Entered: 09/23/2020)

09/24/2020       Ï8    ORDER THAT THE MOTION FOR PRO HAC VICE ADMISSION OF SYDNEY L. STEELE,
                       ESQUIRE (DOC. NO. 7 ) IS GRANTED. SIGNED BY HONORABLE JAN E. DUBOIS ON
                       9/24/20.9/24/20 ENTERED AND COPIES E−MAILED.(amas, ) (Entered: 09/24/2020)

10/16/2020       Ï9    MOTION to Transfer Per 28 U.S.C. 1404(a) and Forum Selection Clause filed by NATIONAL
                       BOARD OF OSTEOPATHIC MEDICAL EXAMINERS, INC..Memorandum, Declaration.
                       (Attachments: # 1 Memorandum NBOME's Memorandum in Supporot of Motion to Transfer, # 2
                       Declaration Declaration of Joseph Flamini, # 3 Text of Proposed Order Proposed Order Granting
                       Motion to Transfer)(STEELE, SYDNEY) (Entered: 10/16/2020)

10/19/2020      Ï 10   ANSWER to Complaint with Additional/Affirmative Defenses by NATIONAL BOARD OF
                       OSTEOPATHIC MEDICAL EXAMINERS, INC..(STEELE, SYDNEY) (Entered: 10/19/2020)

10/21/2020      Ï 11   ORDER THAT THE REQUEST IS GRANTED AND PLAINTIFF SHALL FILE AND SERVE
                       HER RESPONSE TO DEFENDANT NBOME'S MOTION TO TRANSFER AND FORUM
                       SELECTION CLAUSE ON OR BEFORE 11/16/20. SIGNED BY HONORABLE JAN E.
                       DUBOIS ON 10/21/20. 10/21/20 ENTERED AND COPIES E−MAILED.(amas, ) (Entered:
                       10/21/2020)

10/21/2020      Ï 12   LETTER TO JUDGE DUBOIS; FROM CHARLES WEINER; DATED 10/20/20 (amas, ) (Entered:
                       10/21/2020)
         Case 1:21-cv-00181-RLY-MJD Document 19 Filed 01/22/21 Page 3 of 3 PageID #: 291
11/03/2020   Ï 13   ORDER THAT PLAINTIFF'S REQUEST IS GRANTED AND PLAINTIFF SHALL FILE AND
                    SERVE HER RESPONSE TO DEFENDANT NBOME'S MOTION TO TRANSFER AND
                    FORUM SELECTION CLAUSE ON ORBEFORE 11/20/20. SIGNED BY HONORABLE JAN E.
                    DUBOIS ON 11/3/20. 11/3/20 ENTERED AND COPIES E−MAILED.(amas, ) (Entered:
                    11/03/2020)

11/03/2020   Ï 14   LETTER TO JUDGE DUBOIS; FROM CHARLES WEINER; DATED 11/2/20 (amas, ) (Entered:
                    11/03/2020)

11/20/2020   Ï 15   RESPONSE in Opposition re 9 MOTION to Transfer Per 28 U.S.C. 1404(a) and Forum Selection
                    Clause filed by SHARMAINE LEWIS. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit 1, #
                    3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit
                    8)(WEINER, CHARLES) (Entered: 11/20/2020)

12/04/2020   Ï 16   REPLY to Response to Motion re 9 MOTION to Transfer Per 28 U.S.C. 1404(a) and Forum
                    Selection Clause filed by NATIONAL BOARD OF OSTEOPATHIC MEDICAL EXAMINERS,
                    INC.. (Attachments: # 1 Declaration Supplemental Declaration of Joseph Flamini, # 2 Exhibit C −
                    NBOME, # 3 Exhibit D − Request for Test Accommodations Application, # 4 Exhibit E pt 1
                    Bulletin of Information, # 5 Exhibit E pt 2 Bulletin of Information, # 6 Exhibit F − Memorandum
                    and Order)(STEELE, SYDNEY) (Entered: 12/04/2020)

12/10/2020   Ï 17   MEMORANDUM. SIGNED BY HONORABLE JAN E. DUBOIS ON 12/10/20. 12/10/20
                    ENTERED AND COPIES E−MAILED.(amas, ) (Entered: 12/10/2020)

12/10/2020   Ï 18   MEMORANDUM ORDER THAT DEFENDANT NBOME'S MOTION TO TRANSFER AND
                    FORUM SELECTION CLAUSE IS GRANTED. THIS CASE IS TRANSFERRED TO THE
                    UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF INDIANA. THE
                    CLERK OF COURT SHALL MARK THIS CASE CLOSED. SIGNED BY HONORABLE JAN E.
                    DUBOIS ON 12/10/20. 12/10/20 ENTERED AND COPIES E−MAILED.(amas, ) (Entered:
                    12/10/2020)
